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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA

ORCUN SELCUK et al,

                   Plaintiffs,
       v.                                            Case No. 4:24-cv-390

PAUL D. PATE et al,

                   Defendants.


             PLAINTIFFS’ FIRST SET OF EXPEDITED DISCOVERY REQUESTS

       Pursuant to Federal Rule of Civil Procedure 34, Plaintiffs Orcun Selcuk, Alan David

Gwilliam, Tingting Zhen, Michael Brokloff, and the League of United Latin American Citizens of

Iowa (collectively, “Plaintiffs”) by and through its undersigned counsel, serves the following

Expedited Discovery Requests on Defendants Paul D. Pate, Benjamin D. Steines, Jamie Fitzgerald,

Melvyn Houser, Erin Shane, and Kerri Tompkins (collectively, “Defendants”). Because of the

expedited nature of these proceedings, Plaintiffs request responses from Defendants by close of

business on November 6, 2024. The requested Documents are to be produced at the offices of

Faegre Drinker Biddle & Reath LLP, 801 Grand Avenue, 33rd Floor, Des Moines, IA 50309, by

that time.

                                         DEFINITIONS

       For the purposes of the discovery requests set forth below, the following terms have the

following definitions, unless otherwise stated:

       1.       “Defendant,” “the Secretary,” “You,” “Your,” and “Yours” shall refer to

Defendants and their current and former affiliates and subsidiaries, and any current or former

employee(s), contracted worker(s), agents, or other representative(s) thereof.
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       2.      The “Plaintiffs” means Plaintiffs Orcun Selcuk, Alan David Gwilliam, Tingting

Zhen, Michael Brokloff, and the League of United Latin American Citizens of Iowa, and any of

its affiliates and subsidiaries, and all representatives, agents, or officers of the entity acting or

purporting to act on its behalf.

       3.      “The List” and “List” mean the list of registered voters the Secretary has prepared

that identifies individuals for electoral challenges, investigation, and/or additional requirements to

vote based on the Secretary’s purported suspicions about their United States citizenship. For the

purpose of expedited discovery, this definition is limited to lists of voters the Secretary has shared

with county election officials consisting of a list of names the Secretary received from the

Department of Transportation and compared to voting registration records to identify

approximately 2,176 voters the Secretary “reasonably suspects” of being ineligible to vote based

on a lack of citizenship.

       4.      “Affected Voters” refers to the individuals on the List, and/or all persons the

Secretary has identified or included on The List of registered voters subject to electoral challenges,

investigation, and/or additional requirements to vote based on the Secretary’s purported suspicion

about their United States citizenship tied to information reported to the Iowa Department of

Transportation.

       5.      “The Directive” refers to Iowa Secretary of State Pate’s October 22, 2024 directive

sent to all Iowa county election commissioners to monitor voting by all persons on the List and

automatically challenge the eligibility of Affected Voters if they cast a vote.

       6.      “Person” or “Entity” includes any individual, corporation, partnership, group,

association, union, fraternity, company, sole proprietor, store, establishment, place, firm, co-
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partnership, joint venture, government, governmental department, governmental agency, or any

other organization or Entity.

       7.      “Identify,” when used in reference to an individual, means to state: (i) his or her

full name; (ii) his or her present or last known address and telephone number; and (iii) his or her

present or last known business affiliation. “Identify,” when used in reference to an agency,

corporation, partnership, association, or other business Entity, means to state: (i) its full name; and

(ii) its present or last known address and telephone number.

       8.      “Identify,” when used with respect to a Document or Documents, means: (i) to

specify the nature of the Document, i.e., letter, memorandum, credit report, telephone call sheet,

etc.,; (ii) to state the date appearing on the Document or, if not, the date upon which the Document

was prepared; (iii) to describe the subject matter of the Document; (iv) to Identify each Person

who was an addressee or intended recipient of the Document; and (v) if any Document was, but is

no longer, in or subject to Your control, state what disposition was made of it.

       9.      “Identify,” when used with respect to a Communication, means to state: (i) the date

and the form of the Communication, i.e., in writing, by telephone, in Person, or electronically; (ii)

the identity of each Person participating therein, or each Person who was present during the

Communication; (iii) where the Communication took place (location of participants); (iv) the

details of what was said by each participant in the course of the Communication including,

particularly, what was said by You and, if not specifically recalled, the substance of what was said,

particularly the substance of what was said by You; (v) the Person or Persons upon whose

recollection Your response to the particular Interrogatory is based and the source of that Person’s

knowledge, i.e., personal observation; (vi) whether there are any Documents that set forth,
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summarize, or refer to any portion of the Communication; and (vii) if such Document exists, its

identity or the identity of the Person or Persons having control of or control over it.

       10.     “Identify” when used with respect to any analysis, information, or data, means to

state: (i) what the analysis, information, or data purports to show; (ii) the source of the analysis,

information, or data; (iii) any other information necessary to understand the analysis, information,

or data; and (iv) all Documents memorializing the analysis, information, or data.

       11.     “Document” means the original and if the original is unavailable, any copy, of all

handwritten, printed, typewritten, computer-generated, recorded, graphic or photographic material

of any kind or character, as well as all tapes, discs, nonduplicate copies and transcripts thereof,

now or formerly in the actual or constructive possession, custody or control, of You or Your agents

or representatives (including attorneys).

       Without limiting the generality of the foregoing definition, “Document” includes notes,

drafts, letters, correspondence, electronic mail (“e-mail”), electronic messages transmitted through

an application or other communication platform (including without limitation, social media

platforms), text messages, telegrams, memoranda, calendars, diaries, records, minutes, contracts,

agreements, notations of conversations or conferences, inter-office communications, bulletins,

circulars, pamphlets, studies, notices, summaries, reports, books, electronic data processing cards

and tapes, teletyped messages, tape recordings, photographs, drawings, graphs, charts, tables,

financial statements and records, invoices, work sheets, ledgers, and vouchers. “Document”

includes any electronically stored information (“ESI”).

       12.     “Communication” means every manner or means of disclosure, transfer, or

exchange,    including   without    limitation   oral   conversations,   telephone    calls,   written

correspondence, memoranda, or notes, e-mail, text messages, internet correspondence or
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conversations, facsimile transmissions, meetings, audio or video conferences, and/or document

transmittals.

       13.      “Relate to,” “Related to,” and “Relating to” shall mean analyzing, containing,

concerning, dealing with, defining, describing, discussing, embodying, evidencing, explaining,

constituting, identifying, mentioning, reflecting, referring to, setting forth, showing, stating,

summarizing, supporting, or in any way pertaining to the subject matter of the relevant request.

       14.      “Lawsuit” means the above captioned (instant) lawsuit.

                                  GENERAL INSTRUCTIONS

       1.       If any request below cannot be satisfied in full by close of business on November

6, 2024, You should satisfy it to the fullest extent possible, completing Your response by

November 7, 2024.

       2.       If undue burden or the like is contended, an affidavit must be attached to Your

responses quantifying the expected burden.

       3.       If You claim that any information (whether a Document, Communication, or other

matter) requested is protected from discovery by a privilege or subject to the work-product

doctrine, You should specify the privilege, explain the factual or legal basis for the claim, Identify

each Person having knowledge of the factual or legal basis on which the privilege is asserted, and

set forth the following information:

             a. the date and title (if any) of the Communication or Document;
             b. the author of, or Person who prepared, the Document or those present during the
                time at which the Communication was made;
             c. a description of the subject matter of the Communication or Document and the
                circumstances in which the Communication was made;
             d. the Person to whom the Document (if any) was addressed and each Person who
                received a copy of it;
             e. the length and format of the Document (if any);
             f. the current location of the Document (if any);
             g. lists the privilege(s) claimed and the reason for claiming that/those privilege(s).
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       4.      As to responsive Documents in Your possession that are in the form of ESI, You

should produce the ESI in both its native format with metadata preserved and in a readily usable

format, such as PDF, Word, JPEG, TIFF, or any other readily accessible format.

       5.      These Requests for Production seek Documents in Your possession, custody,

control, or access, including Documents within the possession, custody, or control of your

officials, officers, directors, employees, attorneys, agents, representatives, and other persons or

entities who have acted on Your behalf.

       6.      Any grounds for objecting to any Request for Production or Interrogatory in

whole or in part must be stated with specificity and in sufficient detail to allow Plaintiffs and the

Court to assess the validity of the objection.

       7.      These Requests for Production and Interrogatories are continuing in nature and

require supplemental responses if additional Documents or information becomes available to You

or is discovered after Your responses thereto, pursuant to Fed. R. Civ. P. 26(e). Each supplemental

response shall be served on the Plaintiffs no later than thirty (30) days after the discovery of the

subsequently discovered or obtained Documents or information, and in no event shall any

supplemental response be served later than thirty (30) days before the first day of trial, absent leave

of Court.



                               REQUESTS FOR PRODUCTION

       1.      Produce The List, along with any revisions to The List.


       2.      Produce a current Iowa voter file snapshot and the date on which that snapshot was

taken, including any and all contact information for the Affected Voters on the List.
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       3.      Produce all directions, directives, guidance, procedures, or instructions provided to

local election officials regarding The List and Affected Voters.


       4.      Produce all directions, directives, guidance, procedures, or instructions provided

to local election officials regarding how to assess the citizenship of Affected Voters and/or to

decide whether to count provisional ballots cast by the Affected Voters.


Dated: November 5, 2024                           Respectfully submitted,


                                                 /s/ Jesse Linebaugh
                                                 Jesse Linebaugh (AT0004744)
                                                 Email: jesse.linebaugh@faegredrinker.com
                                                 Matthew J. Scott (AT0014441)
                                                 Email: matthew.scott@faegredrinker.com
                                                 Joe R. Quinn (AT0015363)
                                                 Email: joe.quinn@faegredrinker.com
                                                 Emily R. O’Brien** (AT0015757)
                                                 Email: emily.obrien@faegredrinker.com
                                                 FAEGRE DRINKER BIDDLE & REATH LLP
                                                 801 Grand Avenue, 33rd Floor
                                                 Des Moines, IA 50309
                                                 Telephone: +1 515 248 9000

                                                 Craig S. Coleman*
                                                 Email: craig.coleman@faegredrinker.com
                                                 Jeffrey P. Justman*
                                                 Email: jeff.justman@faegredrinker.com
                                                 FAEGRE DRINKER BIDDLE & REATH LLP
                                                 2200 Wells Fargo Center
                                                 90 South 7th Street
                                                 Minneapolis, MN 55402
                                                 Telephone: +1 612 766 7000
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                                  Rita Bettis Austen (AT0011558)
                                  Email: rita.bettis@aclu-ia.org
                                  Thomas D. Story (AT0013130)
                                  Email: thomas.story@aclu-ia.org
                                  AMERICAN CIVIL LIBERTIES UNION OF
                                  IOWA FOUNDATION
                                  505 Fifth Avenue, Suite 808
                                  Des Moines, IA 50309
                                  Telephone: +1 515 243 3988

                                  Ari Savitzky*
                                  Email: asavitzky@aclu.org
                                  Jonathan Topaz*
                                  Email: jtopaz@aclu.org
                                  Ming Cheung*
                                  Email: mcheung@aclu.org
                                  Sophia Lin Lakin*
                                  Email: slakin@aclu.org
                                  AMERICAN CIVIL LIBERTIES UNION
                                  FOUNDATION, INC.
                                  125 Broad Street, 18th Floor
                                  New York, NY 10004
                                  Telephone: +1 212 549 2500

                                  Patricia Yan*
                                  Email: pyan@aclu.org
                                  AMERICAN CIVIL LIBERTIES UNION
                                  FOUNDATION, INC.
                                  915 15th Street NW
                                  Washington, DC 20005
                                  Telephone: +1 202 457 0800

                                  *Pro Hac Vice Application Forthcoming
                                  **Application for Admission Forthcoming

                                  Attorneys for Plaintiffs Orcun Selcuk, Alan
                                  David Gwilliam, Tingting Zhen, Michael
                                  Brokloff, and the League of United Latin
                                  American Citizens of Iowa
